                                                                                                            Case 2:19-cv-09504-JFW-JC Document 43 Filed 04/21/21 Page 1 of 2 Page ID #:301



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                                                                                                                                      UNITED STATES DISTRICT COURT
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                                                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
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T ROUTMAN PEPPER HAMILTON S ANDERS LLP




                                                                                                                                              WESTERN DIVISION
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                                                                                                                  WIN SHERIDAN, an individual,             Case No. 2:19-cv-09504-JFW-JCx
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                                                                                                                                Plaintiff,                 Honorable John F. Walter
                                         5 PARK PLAZA
                                                        SUITE 1400




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                                                                                                                         v.                                JUDGMENT AGAINST MATT
                                                                                                             14                                            WEAVER AND DREAM
                                                                                                                  MATT WEAVER, an individual; SCOTT        CHASER PICTURES, INC. d/b/a
                                                                                                             15   PRISAND, an individual; DREAM            DREAM WEAVER and/or
                                                                                                                  CHASER PICTURES, INC. d/b/a              DREAM WEAVER
                                                                                                             16   DREAM WEAVER and/or DREAM                PRODUCTIONS and/or MEDIA
                                                                                                                  WEAVER PRODUCTIONS and/or                WEAVER
                                                                                                             17   MEDIA WEAVER, a California
                                                                                                                  corporation; PRISAND PRODUCTIONS,
                                                                                                             18   INC., a California corporation,
                                                                                                             19                 Defendants.
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                                                                                                              1           Pursuant to the Notice of Settlement and Stipulation for Entry of Judgment
                                                                                                              2   between Plaintiff Win Sheridan (“Sheridan”) and Defendants Matt Weaver
                                                                                                              3   (“Weaver”) and Dream Chaser Pictures, Inc. d/b/a Dream Weaver and/or Dream
                                                                                                              4   Weaver Productions and/or Media Weaver (“Dream Chaser”) (collectively,
                                                                                                              5   “Defendants”) and based upon Sheridan’s application for the entry of a stipulated
                                                                                                              6   judgment and the parties’ settlement agreement, the Court finds that good cause
                                                                                                              7   exists to enter the following judgment in favor of Sheridan and against Defendants.
                                                                                                              8           THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that
                                                                                                              9   Sheridan is granted judgment against Defendants, in the amount of $2,200,000, plus
                                                                                                             10   interest at 10% per annum from the date of default.
T ROUTMAN PEPPER HAMILTON S ANDERS LLP




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                                                                                                             12           IT IS SO ORDERED.
                                                                     I R V I N E , CA 9 2 6 1 4 - 2 5 4 5
                                         5 PARK PLAZA
                                                        SUITE 1400




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                                                                                                             14    Dated: April 21, 2021                  _______________________________
                                                                                                             15                                           HONORABLE JOHN F. WALTER
                                                                                                                                                          United States District Court Judge
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